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SOUTHWEST REGIONAL COUNC|L OF CARPENTERS
CARPENTERS MEMORANDUM AGREEMENT
2012-2016

lt is agreed between the undersigned ("Conlractor") and the Soulhwest Regiona|
Council of Carpenters, United Brotherhocd of Carpenters and Joiners of America and its
affiliated local unions in the 12 Southern California Couniies, name|y, Los Angeies. Orange,
San Diego, San Bernardino, Riverside, imperial, Ventura. Santa Barbara. San Luis Obispo,
Kem, |nyo and N|ono. and the States of Nevada. Arizona, Utah, New Mexico (and parts of
West Texas) and Colora_do ("Carpenters' Union"). in consideration of services performed
and to be performed by Carpenters for the Contractor, as follows:

1. The Contractor agrees to comply with all the terms. including wages. hours,
and working conditions and rules as set forth in the Agreement referred to as the Southern
Caiifornia Carpenters Master Labor Agreement between United Generai Contractors
Association, lnc. (hereinafter the "Associaiion") and the Southwest Regionai Councii of
Carpenters and its affiliated Local Unions, United Brotherhood of Carpenters and Joiners
of America`, dated Juiy 1, 2012, as well as the appropriate Master Agreements covering the
States of Nevada, Arizona. Utah, New Mexico and West Texas, and Arizona, and any
extensions, renewals or subsequent Master Labor Agreements. and the Agreements
establishing: (1) the Soulhwest Carpenters Pension Trust, dated September 14, 1959: (2)
the Soulhwest Carpenters Health & Weifare Trust, dated February 8. 1955; (3) the
Soulhwest Carpenters Training Fund, dated May 1. 1960: (4) the Southwest Carpenters
Vacation Trust, dated Aprii 1, 1962; (5) the Contract Administration Trust Fund for
Carpenters-Management Reiations. dated Ociober 1, 1986; (6) the Construction industry
Cooperation Committee, dated Oct`ot`)er 1 . 1986: (7) the Acoustical industry Advancement
Fund; (8) the Carpenters industry Advancement Fund of Southern Caiifornia, dated
September 19, 1972; and (9) the independent Contractors Grievance and Arbiiration Trust,
dated September 1 , 1980; (10) the Southern Nevada Carpenters Annuity Fund; (hereafter
collectively referred to as the “Carpenters Trust Funds") and any amendments,
modincations, extensions and renewals of such Agreements and the TrustAgreements and
any agreements establishing other benefits or plans negotiated by the Carpenters' Unions
and the Contractor Association signatory to such Master Labor Agreement. Except as
specifically excluded by this MemorandumAgreement. such Master Labor Agreemenls and

Trust Agreements are specifically incorporated by reference and made a part of this
Mernorandum Agreement.

2. The Contractor agrees to pay the Carpenters Trust Funds the sums in the
amounts and manner provided for in the Master Labor Agreement and further agrees to be
bound by the Trust Agreements and all amendments. modificationsl extensions and
renewals thereto. The Contractor agrees to make a contribution to the Carpenters'
intemationai Training Fund and to the UBC Labor Management Education and
Development Fund. as allocated by the Union from negotiated wage increases. These
contributions may be collected with the existing contributions to the Carpenters Health &
We|fare Trust, the Carpenters Apprenticeship Trust and/or the Carpenters Contractors

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Cooperation Committee, or other Carpenter funds, as allocated by the Union. The
Employer agrees to be bound to the Agreements and Declarations of Trust for the
international Funds as they exist and as they may be amended or restated, and to such
rules'and regulations as adopted by the Trusts. Upon request the employer may receive
the latest annual report prepared for the Funds.

3. The Contractor agrees that he does irrevocably designate and appoint the
Empioyers mentioned in the Agreements establishing the various Carpenters Trust Funds
along with representatives designated by the United Generai Contractors, lnc. and the
Residentiai Contractors Assooiation as his attorney-in-fact, for the seiection, removal and

substitution of Trustees or Directors as provided by or pursuant to the Master Labor
Agreement and Trust Agreements and By-Laws.

4. The parties agree that the provisions of paragraphs 114 and 1 15 and 601 .6
and the provisions relating to Existing and Other Agreements (Article Xii) of the Master
Labor Agreement will be excluded from this Memorandum Agreement and will not be
binding upon the Contractor or the Carpenters° Unions.

5. There has been established under this Agreement and the Master Labor
Agreement. an independent Contractors Grievance and Arbitration Trust. The Contractor
and the Carpenters Union agree to submit ali disputes. including jurisdictional disputes,
concerning the interpretation or application of this Agreement and the Master Labor
Agreement to arbitration under this Section 5, and the Contractor and the Carpenters Union
agree that during the pendency of the grievance and arbitration procedure, the Carpenters'
Unions will not strike or withdraw services and the Contractorwiil not engage in a lockout;
provided, however. the Carpenters Union shall have the right to engage in a strike or
withdrawal of services and the Contractor may engage in a lockout on a claimed violation
of this Agreement or the Master Labor Agreement relating to the- payment of wages or
contributions to any Trust Fund referred to in this Agreement or failure to comply with a final

and binding arbitration award, except as to any provision or arbitration award on
subcontracting

6. The Contractor agrees that in the event the Contractor contracts or
subcontracts any carpenter's work, and in the event that such subcontractor fails to pay the
wages or the fringe benehts provided under the Agreements between the subcontractor
and the Carpenters' Unions. then the Contractor will become liable for the payment of such
sums incurred by the subcontractor. and such sums will immediately become due and
payable by the Contractor. Such payments will be measured by the hours worked or paid
for by the employees of the subcontractor. The Trustees of the Trust Fu nds referred to in
the Master Labor Agreement and this Memorandum Agreement are expressly made third
party beneficiaries of the Contractors' promise to make such payments The Trustees of
the Trust Fund referred to in the Master Labor Agreement and this Memorandum
Agreement. will have the right to require any Contractor that is a party to this Memorandum
Agreement. to post a cash or surety bond in an amount sufficient to safeguard the payment

of Trust Fund Contributions that are required to be paid to the Trust Funds in accordance
with the Master Labor Agreement. ~

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7. Except as specifically excluded by this Memorandum Agreementl the
Carpenters Union and the Contractor agree to abide by ali the terms and conditions of the
Master Labor Agreement(s) and Trust Agreements and any amendments, modifications,
changes. extensions and renewais, including changes in wages, benefits. term. coverage,
geographic scope or any other changes to such agreements

8. Preservation of Unit Worl<:

(a) in order to protect and preserve. for the employees covered by this
Agreement. ali work heretofore performed by them, and in order to prevent any device or
subterfuge to avoid the protection and preservation of such work, lt is hereby agreed as
foilows: if and when the Contractor performs any on~site construction work of the type
covered by this Agreement. under its own name or under the name of anotherl as a
corporation, company, partnershipl or any other business entity, inciud|ng_a joint venture,
wherein the Contractor (inciuding its officers, directors, owners, partners or stockholders)
exercises either directly or indirectly (such as through family members) ownership.

management or contro|, the terms and conditions of this Agreement will be applicable to
all such work.

(b) All charges of violations of Subsection (a) of this paragraph, will be
considered as a dispute under this Agreement and will be processed in accordance with
the procedures for the handling of grievances and the final binding resolution of disputes,
as provided in this Agreement. As a remedy for violations of this paragraph the arbitrator
is_ empowered at the request of the Carpenters Union, to require an employer to (1) pay to
affected employees covered by this Agreement, including registered applicants for
empioyment, the equivalent of wages lost by such employees as a result of the violations.
and (2) pay into the affected joint trust funds established under this Agreement any
delinquent contributions to such funds which have resulted from the violations. Provisions
for this remedy does not make such remedy the exclusive remedy available to the
Carpenters Union for violations of this paragraph; nor does it make the same of other
remedies unavailable to the Carpenters Union for violation of this paragraph.

(c) if, as a result of violations of this paragraph 8. it is necessary for the
Carpenters Union and/or the trustees of the joint trust funds to institute court action to
enforce an award rendered in accordance with subsection (b), or to defend an action which
seeks to vacate such award. the Contractor will pay any accountants' and attorneys‘ fees

incurred by the Carpenters Union and/or fund trustees, plus cost of the iltigation, which
have resulted from the bringing of such court action.

(d) if this paragraph 8 is declared to be unlawfui. the parties will negotiate
similar language that will give the Carpenters Unlon equivalent protection.

9. The Contractor and the Carpenters Union expressly acknowledge that on the
Contractor's currentjobsite work, the Carpenters Union has the support of a majority of the

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employees performing work covered by this Agreement. `the Union has demanded and
the Contractor has recognized the Carpenters Unlon as the majority representative of its
employees performing work covered by this Agreement. lt is also acknowledged that the
Union has provided. or has offered to provide. evidence of its status as the majority
representative of the Contractors employees. By this acknowledgment the parties intend
to and are establishing a collective bargaining relationship under Section 9 of the National
Labor Relations Act of 1947. as amended. The bargaining unit established by this

Agreement and the Master Labor Agreement is accepted by the parties as an appropriate
unit for collective bargaining purposes.

10. Each individual Employer signatory hereto specifically waives any right that
he or it may have to lerminate. abrogate, repudiate or cancel this Agreement during its term
or during the term of any future modifications, changes, amendments, supplementsl
extensions, or renewals of or to said Master Labor Agreement. or to file any petition before
the National Labor Relations Board seeking to accomplish such termination. abrogation,

cancellation or repudiation or to tile a petition seeking clarification or redefinition of the
bargaining unit covered by this Agreement.

11. Notwithstanding any provision of the Master Labor Agreement or this
Agreement. the individual employer agrees that upon a showing by the Union or any of its
affiliates a majority of the individual employers shop empioyees, if anyl have designated
the Unlon and/or any of its affiliates as their representative for collective bargaining
purposesl the individual employer shall recognize the Union and/or its_ affiliates as the
collective bargaining representative of its shop employees and shall forthwith comply with
all wages, hours, terms and conditions of the then current Store Fixture Agreement for the
term thereof. Proof of such majority representation shall be established by the submission
of authorization cards to a neutral third person who shall compare the signatures with
appropriate employer records. The individual employer shall fully cooperate in such review
upon demand by the Union or any of its affiliates.

12. The Contractor agrees that in the event lt performs any work within the
jurisdiction of the United Brotherhood of Carpenters in the geographical jurisdiction of the
Soulhwestern Regionai Councii of Carpenters (a|though subject to change it is currently
the States of Nevada, Arizona. Utah, New Mexico (and parts of West Texas). Coiorado and
12 Southern Caiifornia Counties) the Contractor shall perform all such work pursuant to the
appropriate Carpenters Master Agreement for that area. including but not limited to the
hiring hall and subcontracting requirements contained in said Agreements.

13. This Memorandum Agreement shall remain in full force and effect for the
period of the term of the Carpenters Master Labor Agreement between United Generai
Contractors Association, lnc. (hereinafter the "Association") and the Soulhwest Regionai
Councii of Carpenters, United Brotherhood of Carpenters and Joiners of America, dated
July 1, 2012, and for the term of any successor Master Labor Agreement(s) and does
hereby authorize the Association to represent the Contractor, unless either party shall give
written notice by registered or certified mail to the other of desire to change or cancel this

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Memorandum Agreement at least sixty (60)days, but no eartlerthan ninety (90) days, prior
to June 30, 2016, ortf such notice ls not glven, than at least sixty (60) days, but no earlier
than ninety (90) days priorto the termination data cfa successor MasterLaborAgresment.
All notices given by the Carpenters Unicn to the signatory Contractor Assoclatlon to the
Master Labor Agreement shall constitute sufficient notice to the Contractor by the
Carpenters' Unione; providsd. however. that a notice to the ContractorAssocletlon by either
party shall not constitute sufficient notice of such intent not to be bound by a new
Agreement cr renewal or extension of the MasterLaborAgreement and TrustAgreements.

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Firm Name (Prlnt Exactly as Llsted with State Llcenae Board) Stete License No.

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(Stgnature of Contractor) (Prlnt name and title of person stagglng)
2802 West Palm Lane Phoenix AZ 85009
Address Clty. State. le
(602.) 278- 6281 (602) 278-5191 / 0
Phone Number Fax Number e-mail address No. of Employees

Speclfic type of work you perform with your OWN work force:
Hillwrights

Generai Contractor Subcontractor L Both

SOUTHWEST REGlONAL COUNC|L OF CARPENTERS
Mll<E McCARRON, Exacutlve etary

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pagan f ` Jamea H. Pester 1607
Authorlzed Unlon Representative 'Print blame and Local No.

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